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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             ROBERT RICHARDS,                          :    CRIMINAL NO.
                 Movant,                               :    1:07-CR-0412-CAP-GGB-18
                                                       :
                   v.                                  :    CIVIL ACTION NO.
                                                       :    1:13-CV-2376-CAP-GGB
             UNITED STATES OF AMERICA,                 :
                 Respondent.                           :    MOTION TO VACATE
                                                       :    28 U.S.C. § 2255


                             FINAL REPORT AND RECOMMENDATION

                   Movant, Robert Richards, has filed a motion to vacate sentence under 28

             U.S.C. § 2255. [Doc. 1000]. Under Rule 4 of the Rules Governing § 2255

             Proceedings for the U.S. District Courts, the Court must “promptly examine” the

             motion and determine whether “it plainly appears from the motion, any attached

             exhibits, and the record of prior proceedings that the moving party is not entitled to

             relief.” If it does so appear, the Court “must dismiss the motion.” Rule 4, § 2255

             Proceedings. I have examined Richards’s § 2255 motion and the record in this case

             and find it plainly apparent that Richards is not entitled to relief for the reasons

             explained below.




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             I. Background

                   Richards and 21 other individuals were charged in an eleven count indictment

             for money laundering and drug crimes. [Doc. 221]. Richards was indicted for three

             crimes: conspiracy to possess with intent to distribute at least 5 kilograms of cocaine;

             conspiracy to launder money; and laundering money. [Id.]. Richards entered a plea

             of guilty to conspiring to distribute cocaine, and he waived his right to a trial by jury

             for the money laundering charges. [Doc. 733].

                   On February 23, 2009, Richards was found guilty by the district court of

             conspiracy to launder money and of laundering money.                  [Id.]; 18 U.S.C.

             §§ 1956(a)(2)(A), (h). On June 12, 2009, Richards was sentenced to 240 months of

             imprisonment for his drug crime, a concurrent term of 121 months of imprisonment

             for his money laundering crimes, and ten years of supervised release. [Doc. 769].

                   Richards appealed, and on February 2, 2010, the United States Court of

             Appeals for the Eleventh Circuit affirmed his convictions and sentences. United

             States v. Richards, 363 F. App’x 729 (11th Cir. 2010); [Doc. 872]. On January 18,

             2011, the United States Supreme Court denied certiorari. Richards v. United States,

             131 S. Ct. 994 (2011); [Doc. 903].




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                   On July 8, 2013, Richards delivered to prison officials for mailing a motion to

             vacate under § 2255, and the motion was filed in this Court on July 16, 2013. [Doc.

             1000]. In his motion, Richards contends that he is entitled to relief and his motion

             is timely filed based on the recent Supreme Court case of Alleyne v. United States,

             133 S. Ct. 2151 (2013).1 Specifically, Richards contends that the 21 U.S.C. § 851

             enhancement applied to his sentence should be vacated, because the district court, not

             a jury, made the factual finding that he had a prior felony drug conviction and

             qualified for the enhancement.

              II. Discussion

                   Under the Anti-Terrorism and Effective Death Penalty Act of 1996

             (“AEDPA”), federal prisoners must file a 28 U.S.C. § 2255 motion to vacate within

             one year of the latest of four specified events:

                   (1) the date on which the judgment of conviction becomes final;

                   (2) the date on which the impediment to making a motion created by
                   governmental action in violation of the Constitution or laws of the

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                     Alleyne is the latest in a series of cases following Apprendi v. New Jersey, 530
             U.S. 466, 490 (2000), which held that under the Fifth and Sixth Amendments, any
             fact (other than a prior conviction) that increases the maximum penalty for a crime
             must be charged in an indictment, submitted to a jury, and proved beyond a
             reasonable doubt. Alleyne now dictates that any fact that increases the mandatory
             minimum sentence for an offense is an element which must be submitted to the jury.

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                   United States is removed, if the movant was prevented from making
                   such a motion by such governmental action;

                   (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the Supreme
                   Court and made retroactively applicable to cases on collateral review;
                   or

                   (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

             28 U.S.C. § 2255(f).

                   Richards argues that his motion is timely under § 2255(f)(3) based on the

             Supreme Court’s decision in Alleyne. Although the Eleventh Circuit has not yet

             decided the issue, other courts who have considered it have held that Alleyne has not

             been made retroactively applicable to cases on collateral review. See In re Payne,

             No. 13-5103, 2013 WL 5200425, at *1-*2 (10th Cir. Sept. 17, 2013) (agreeing with

             the Seventh Circuit that Alleyne is an extension of Apprendi and does not apply

             retroactively); Simpson v. United States, 721 F.3d 875, 876 (7th Cir. 2013) (holding

             that Alleyne, like Apprendi, was not made retroactive); Frank v. United States, Nos.

             CV 113-113, CR 103-045, 2013 WL 4679826, at *3 n.1 (S.D. Ga. Aug. 30, 2013)

             (“The Court is not aware of any authority indicating that Alleyne is retroactively

             applicable, and the case itself provides no such indication.”); Ward v. United States,



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             No. 1:02-cr-00063-MR-1, 2013 WL 4079267, at *2 (W.D. N.C. Aug. 13, 2013)

             (finding that petitioner’s motion was untimely and § 2255(f)(3) did not apply because

             the Supreme Court has not found that Alleyne is retroactive to cases on collateral

             review); Luney v. Quintana, No. 6:13-003-DCR, 2013 WL 3779172, at *3 (E.D. Ky.

             July 18, 2013) (noting that “there is no indication in . . . Alleyne, that the Supreme

             Court made [that] holding [ ] retroactive to cases on collateral review.”). Indeed, I

             have not found any court that has determined that Alleyne applies retroactively. Thus,

             Richards’s argument is without merit.

                    The § 2255 statute of limitations began to run on the date Richards’s

             convictions and sentences became final. Richards’s convictions became final on

             January 18, 2011, when the Supreme Court denied certiorari. See Gonzalez v. Thaler,

             132 S. Ct. 641, 653 (2012) (holding that a federal judgment becomes final, for

             purposes of the AEDPA’s statute of limitations, when the Supreme Court affirms a

             conviction on the merits on direct review or denies a petition for a writ of certiorari,

             or, if the prisoner does not seek certiorari, when the time for filing a certiorari petition

             expires).

                    Richards had one year from the date his convictions became final, or until

             January 18, 2012, to file a motion to vacate. Richards filed his motion to vacate in

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             this Court on July 8, 2013, over a year after the limitation period expired.2 Because

             Richards’s motion to vacate was filed outside the limitation period, it is untimely.

                   The one-year limitation period is subject to equitable tolling. See Holland v.

             Florida, 130 S. Ct. 2549 (2010). In order to obtain equitable tolling of the AEDPA’s

             filing deadlines, Richards must show that: (1) he had been pursuing his rights

             diligently, and (2) some extraordinary circumstance stood in his way and prevented

             timely filing. Id. at 2562 (citation omitted). Equitable tolling is generally limited to

             rare and exceptional circumstances. See Helton v. Sec’y for Dep’t of Corr., 233 F.3d

             1322, 1325 (11th Cir. 2000). Richards does not raise any argument to justify tolling

             the limitation period. Thus, Richards is not entitled to equitable tolling of the

             limitation period.

             III. Certificate of Appealability

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.


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                     Under the “prison mailbox rule,” a pro se prisoner’s court filing is deemed
             filed on the date it is delivered to prison authorities for mailing. Houston v. Lack, 487
             U.S. 266, 275-76 (1988). Richards indicates that he delivered the motion for mailing
             on July 8, 2013. [Doc. 1000 at 7].

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             § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has

             made a substantial showing of the denial of a constitutional right.” A prisoner

             satisfies this standard by demonstrating that reasonable jurists would find that the

             district court’s assessment of his constitutional claims is debatable or wrong and that

             any dispositive procedural ruling by the district court is likewise debatable. See

             Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473,

             484 (2000).

                   Richards has failed to make a substantial showing of the denial of a

             constitutional right. Richards filed his § 2255 motion after expiration of the

             limitation period, and he has failed to show that he is entitled to any tolling of the

             one-year period. Accordingly, I RECOMMEND that a certificate of appealability

             be DENIED.

             IV. Conclusion

                   Based on the foregoing, I RECOMMEND that Movant Robert Richards’s

             motion to vacate sentence [Doc. 1000] be DENIED as untimely.

                   I FURTHER RECOMMEND that a certificate of appealability be DENIED.




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                   The Clerk is DIRECTED to terminate the referral to me.

                   IT IS SO RECOMMENDED, this 20th day of September, 2013.




                                                 GERRILYN G. BRILL
                                                 UNITED STATES MAGISTRATE JUDGE




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